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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 GIGI’S CUPCAKES LLC,           §
                                §
      Plaintiff,                §
                                §
 v.                             §                      CIVIL ACTION NO. 3:17-CV-3009-B
                                §
 4 BOX LLC, NIKOLAS PAPPAS, and §
 LORAINE PAPPAS,                §
                                §
      Defendants.               §

                                ORDER OF CONSOLIDATION

       The Court presently has ten actions on its docket filed by Gigi’s Cupcakes LLC alleging

breach of Unit Franchise Agreements against various franchisees and seeking declaratory judgment.

The Court held a status conference hearing for those cases on January 31, 2018. As addressed at that

hearing, the Court concludes that all ten cases involve common questions of law and fact and

consolidation under Federal Rule of Civil Procedure 42(a) is appropriate. Accordingly, the Court

enters this Order to CONSOLIDATE the following cases for pretrial proceedings. See Castaneda v.

Swift Transp. Corp., EP-07-CV-369-DB, 2009 WL 10669207, at *2 (W.D. Tex. July 16, 2009)

(internal citations and quotations omitted) (“Thus, Rule 42(a) contemplates consolidation for

purposes of particular segments of the litigation, such as pretrial proceedings.”).

       1.      3:17-cv-3009-B
       2.      3:17-cv-3010-B
       3.      3:17-cv-3011-B
       4.      3:17-cv-3012-B
       5.      3:17-cv-3013-B
       6.      3:17-cv-3014-B
       7.      3:17-cv-3015-B
       8.      3:17-cv-3016-B

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       9.     3:17-cv-3017-B
       10.    3:17-cv-3018-B

       All future pretrial filings shall be filed in 3:17-cv-3009-B. The Court DIRECTS the Clerk

to administratively close all other cases listed above. United States Magistrate Judge Renee H.

Toliver, currently assigned to 3:17-cv-3009-B, will continue as the Magistrate Judge in this

consolidated action.



       SO ORDERED.

       SIGNED: January 31, 2018.



                                            _________________________________
                                            JANE J. BOYLE
                                            UNITED STATES DISTRICT JUDGE




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